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 7                            UNITED STATES DISTRICT COURT
 8                          SOUTHERN DISTRICT OF CALIFORNIA
 9                            (HONORABLE JEFFREY T. MILLER)
10
     UNITED STATES OF AMERICA,       )               Case No. 08cr3006 - JM
11                                   )
            Plaintiff,               )
12                                   )               ORDER GRANTING
              v.                     )               JOINT MOTION TO CONTINUE
13                                   )               SENTENCING HEARINGS
                                     )               [Docket 25]
14 OSWALDO ORTEGA-VEGA (1);          )
   GRECIA TOPETE-VERDUO (2)          )
15                                   )
              Defendant.             )
16 _________________________________ )
17         GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that the
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     Sentencing Hearings in the above entitled matters, currently scheduled for December 5, 2008 at
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     9:00 a.m., be continued until 9:00 a.m. on January 23, 2009.
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21         IT IS SO ORDERED.
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     DATED: November 24, 2008
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24                                                Hon. Jeffrey T. Miller
25                                                United States District Judge

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